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                                                                                 FILED
                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS                         JAN 172017
                                 DEL RIO DIVISION
                                                                              CLERK,   U.S.   DISTRICT CLERK
                                                                             WESTERN DI TRICT OF TEXAS
 MAVERICK ONE PROPERTIES,
 LLC,
                                                §                            BY3Ff?
                                                §
      Plaintiff,                                §         Civil Action No.
                                                §         DR-15-CV-108AMJCW
 V.                                             §
                                                §
 MID-CENTURY INSURANCE                          §
 COMPANY,                                       §
     Defendant.                                 §

                                             $) 1 I) :i



       Pending before the Court is the Plaintiff's Motion for Nonsuit with Prejudice. (ECF No. 10.)

In the motion, the Plaintiff requests the Court to dismiss the claims against the Defendant with

prejudice.

       After reviewing the motion, it is hereby ORDERED that the motion is GRANTED.

Accordingly, all claims against the Defendant are DISMISSED WITH PREJUDICE. It is further

ORDERED that a clerk'sjudgment shall issue immediately, terminating the present cause of action.

       SIGNED this 17th day of January, 2017.




                                            LIA MOSES
                                           UNITED STATES DISTRICT JUDGE
